              DISTRICT COURT OF APPEAL OF FLORIDA
                        SECOND DISTRICT



                            MITCHELL JACKSON,

                                 Appellant,

                                      v.

                            STATE OF FLORIDA,

                                  Appellee.


                             No. 2D2023-0154


                              August 23, 2024

Appeal from the Circuit Court for Hillsborough County; Michelle Sisco,
Judge.

Mitchell Jackson, pro se.

C. Suzanne Bechard, Associate Deputy Attorney General, Tallahassee,
and Laura Dempsey, Assistant Attorney General, Tampa, for Appellee.

PER CURIAM.

      Affirmed.



NORTHCUTT, VILLANTI, and SMITH, JJ., Concur.



Opinion subject to revision prior to official publication.
